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IN THE UNITED sTATEs DISTRICT CoURT M~ED 3"'- D'°'

FoR THE wEsTERN DISTRICT oF TENNESSEE
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W.D. OF TN, MEMPH|S
PHILANDER BUTLER,
Petitioner,
Vs. No. 05-2112-D/An

UNITED STATES OF AMERICA,
et al.,

Respondent.

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ORDER ASSESSING $150 CIVIL FILING FEE
ORDER OF PARTIAL DISMISSAL
AND
ORDER TO ISSUE AND EFFECT SERVICE ON THE REMAINING DEFENDANT

 

Plaintiff Philander Butler, Bureau of Prisons inmate
registration 16665»076, an inmate at the United States Penitentiary in
Pollock, Louisiana (“USP-Pollock”), filed a pgg_§§ petition for a writ
of mandamus pursuant to 28 U.S.C. § 1361 on February 8, 2005 against
the United States of America and Lynn Dudley, a court reporter. The
matter was reassigned to this judge on May 26, 2005.

I. Assessment of Filinc Fee

Under the Prison Litigation Reform Act of 1995 (“PLRA”), 28
U.S.C. § 1915(b), all prisoners bringing a civil action must pay the
full filing fee of $150 required by 28 U.S.C. § 1914(a).l The in forma

pauperis statute, 28 U.S.C. § 1915(a), merely provides the prisoner the

 

1 Because this action was commenced prior to March 7, 2005_. the new $250

civil filing fee is inapplicable.

T'\is document entered on ihs docket sheet in com§|lance
w\th Ru'e 58 and/or 79(a) FHCP on ‘ "

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opportunity to make a “downpayment” of a partial filing fee and pay the
remainder in installments.

In this case, plaintiff has properly completed and submitted
both an ;p_§p;mg pauperis affidavit and a trust fund account statement.
Pursuant to 28 U.S.C. § 1915(b)(l), it is ORDERED that the plaintiff
cooperate fully with prison officials in carrying out this order. It
is further ORDERED that the trust fund officer at plaintiff’s prison
shall calculate a partial initial filing fee equal to twenty percent
(20%) of the greater of the average balance in or deposits to the
plaintiff’s trust fund account for the six months immediately preceding
the completion of the affidavit. When the account contains any funds,
the trust fund officer shall collect them and pay them directly to the
Clerk of Court. If the funds in plaintiff’s account are insufficient
to pay the full amount of the initial partial filing fee, the prison
official is instructed to withdraw all of the funds in the plaintiff’s
account and forward them to the Clerk of Court. On each occasion that
funds are subsequently credited to plaintiff’s account the prison
official shall immediately withdraw those funds and forward them to the
Clerk of Court, until the initial partial filing fee is paid in full.

It is further ORDERED that after the initial partial filing
fee is fully paid, the trust fund officer shall withdraw from the
plaintiff’s account and pay to the Clerk of this Court monthly payments
equal to twenty percent (20%) of all deposits credited to plaintiff's
account during the preceding month, but only when the amount in the
account exceeds $10.00, until the entire $150.00 filing fee is paid.

Each time that the trust fund officer makes a payment to the

Court as required by this order, he shall print a copy of the

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prisoner’s account statement showing all activity in the account since
the last payment under this order and file it with the Clerk along with
the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiff’s name and the case number on the
first page of this order.

If plaintiff is transferred to a different prison or
released, he is ORDERED to notify the Court immediately of her change
of address. If still confined he shall provide the officials at the new
prison with a copy of this order.

If the plaintiff fails to abide by these or any other
requirement of this order, the Court may impose appropriate sanctions,
including a monetary fine, without any additional notice or hearing by
the Court.

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at plaintiff’s prison.
The Clerk is further ORDERED to forward a copy of this order to the
warden of the USP-Pollock to ensure that the custodian of the
plaintiff’s inmate trust account complies with that portion of the PLRA
pertaining to the payment of filing fees.

II. Analvsis of the Merits

The Court is required to screen prisoner complaints and to

dismiss any complaint, or any portion thereof, if the complaint-

(l) is frivolous, malicious, or fails to state a claim
upon which relief may be granted; or

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(2) seeks monetary relief frmn a defendant who is
immune from such relief.

28 U.S.C. § 1915A(b); see also 28 U.S.C. § 1915(e)(2)(B). One aspect
of plaintiff's complaint is subject to dismissal.

Pursuant to 28 U.S.C. § 1361, “[t]he district courts shall
have original jurisdiction of any action in the nature of mandamus to
compel an officer or employee of the United States or any agency
thereof to perform a duty owed to the plaintiff.” In this case,
although the petition purports to name the United States as a party,
the statute, by its terms, limits the proper respondents to individual
federal officers and employees and federal agencies. Mandamus is not
available against the United States. McCune v. United States, 3?4 F.
Supp. 946, 948 (S.D.N.Y. 1974). Accordingly, the Court DISMISSES the
petition with respect to the United States, pursuant to 28 U.S.C. §§
l915(e)(2)(B)(ii) and 1915A(b)(l), for failure to state a claim on
which relief may be granted.

III. Issuance of Process

It is ORDERED that the Clerk shall issue process for the
remaining defendant and deliver said process to the marshal for
service. Service shall be made on the defendant pursuant to Fed. R.
Civ. P. 4(i)(2)(B). Service on the defendant shall include a copy of
this order. All costs of service shall be advanced by the United
States.

It is ORDERED that the plaintiff shall serve a copy of every
further document filed in this cause on the attorney for the defendant
or on the defendant if he has no attorney. The plaintiff shall make a

certificate of service on every document filed. The plaintiff shall

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familiarize himself with the Federal Rules of Civil Procedure and this
Court’s local rules.

The plaintiff shall promptly notify the Clerk of any change
of address or whereabouts. Failure to comply with these requirements,
or any other order of the Court, may result in this case being

dismissed without further notice.

IT IS SO ORDERED this {Q day of June, 2005.

 

UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 4 in
case 2:05-CV-021 12 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

Philander Butler
USP-POLLOCK
16665-076

P.O. Box 2099
Pollock, LA 71467

Honorable Bernice Donald
US DISTRICT COURT

